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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,
                                                             CASE NO. 2:20-CR-20
v.
                                                             HON. ROBERT J. JONKER
KATHRYN AILEEN CONNELLY,

               Defendant.
                                    /


                ORDER ADOPTING REPORT AND RECOMMENDATION


        The Court has reviewed the Report and Recommendation filed by the United States

Magistrate Judge in this action. The Report and Recommendation was duly served on the parties,

and no objection has been made thereto within the time required by law. Based on this, and on

the Court’s review of all matters of record, including the audio transcript of the plea proceedings,

IT IS ORDERED that:

1.      The Report and Recommendation of the Magistrate Judge (ECF No. 6) is approved

        and adopted as the opinion of the Court.

2.      Defendant's plea of guilty is accepted and defendant is adjudicated guilty of the charge set

        forth in the Felony Information.

3.      The written plea agreement is hereby continued under advisement pending sentencing.

4.      Defendant shall remain on bond as set forth in the Appearance Bond and Order Setting

        Conditions of Release pending sentencing on February 8, 2021.


Date:    November 5, 2020                     /s/ Robert J. Jonker
                                              ROBERT J. JONKER
                                              CHIEF UNITED STATES DISTRICT JUDGE
